(Rev. 10/2023)

United States District Court — Western District of Washington

TRANSCRIPT ORDER FORM
Court Reporter: Marci Chatelain [=] Judicial Officer: Richard A. Jones [x]
Case No. 23-cr-00179 Case Name: USA Vv. Zhao
Date(s): Proceedings to be transcribed: Court Reporter (if different from selection above):

December 29, 2023 _|Dkt. 50 telephonic hearing for permission to trave] Marci Chatelain

For Appeal? No [| Yes Court of Appeals Case No.

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Additional Comments:

Contact Information

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[Billing Reference # (if applicable): [122 122.0000001

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Signature Date

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INSTRUCTIONS

Use this form to order the transcription of proceedings. Complete a separate order form for each case number. An original must be
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For additional information and court reporter contact information, please visit the Court's website.
